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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                    )
 JENZABAR, INC.,                                    )
                                                    )
          Plaintiff,                                )
                                                    )
  v.                                                ) Case No. 1:18-cv-12014-RGS
                                                    )
  CASE WESTERN RESERVE                              )
  UNIVERSITY,                                       )
                                                    )
          Defendant.
                                                    )

                                   NOTICE OF DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Jenzabar, Inc.

(“Jenzabar”) hereby dismisses this action with prejudice, without costs, and without attorneys’

fees.

                                                     JENZABAR, INC.

                                                     By its attorneys,


                                                     /s/ Matthew P. Ritchie
                                                     Matthew P. Ritchie (BBO# 670051)
                                                     Liam T. O’Connell (BBO# 558249)
                                                     Sa’adiyah K. Masoud (BBO# 659078)
                                                     Nutter McClennen & Fish LLP
                                                     155 Seaport Blvd.
                                                     Boston, Massachusetts 02210
                                                     Telephone: (617) 439-2000
                                                     Facsimile: (617) 310-9000
                                                     mritchie@nutter.com
                                                     loconnell@nutter.com
  Dated: February 7, 2019                            smasoud@nutter.com
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the NEF and paper copies will be sent
to those indicated as non-registered participants on February 7, 2019.


                                              /s/ Matthew P. Ritchie
                                              Matthew P. Ritchie




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